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 5 Attorneys for Plaintiff
   United States of America
 6

 7

 8                                      UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 2:18-CR-00004-DB
12                                  Plaintiff,              STIPULATION AND ORDER TO CONTINUE
                                                            STATUS CONFERENCE
13                           v.
                                                            DATE: October 23, 2018
14   ROSEMARY CHANNEL, ET AL.                               TIME: 10:00 a.m.
                                                            COURT: Hon. Deborah Barnes
15                                  Defendant.
16

17                                                   STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, Magistrate Judge Deborah Barnes scheduled this matter for a status

21 conference in this Court on October 23, 2018 at 10:00 a.m.

22          2.      By this stipulation, the parties now jointly move to continue the status conference to

23 October 30, 2018 at 10:00 a.m.

24          3.      It is further stipulated that the time within which the trial of this case must be commenced

25 under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., be excluded from computation of time pursuant to

26 § 3161(h)(7)(A), (B)(iv), and Local Code T4. Further, the ends of justice served in granting the
27 continuance and allowing the defendant further time to review discovery and prepare for a trial outweigh

28 the best interests of the public and the defendant in a speedy trial.

      STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE   1
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 1 IT IS SO STIPULATED.

 2    Dated: October 3, 2018                                    MCGREGOR W. SCOTT
                                                                United States Attorney
 3
                                                                /s/ Eric J. Chang
 4                                                              ERIC J. CHANG
                                                                Special Assistant U.S. Attorney
 5

 6
      Dated: October 3, 2018                                    /s/ Eric Chang for
 7                                                              LINDA ALLISON
 8                                                              Chief Assistant Federal Defender
                                                                Counsel for Defendant
 9                                                              ROSEMARY CHANNEL

10
      Dated: October 3, 2018                                    /s/ Eric Chang for
11                                                              ETAN ZAITSU
                                                                Counsel for Defendant
12                                                              PATRICIA SHIRLEY
13
      Dated: October 3, 2018                                    /s/ Eric Chang for
14
                                                                KELLY BABINEAU
15                                                              Counsel for Defendant
                                                                BOBBIE SANFORD
16

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18
                                               FINDINGS AND ORDER
19
            IT IS SO ORDERED, that the status conference is continued to October 30, 2018 at 10:00 a.m.
20
     The Court further finds that time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., be excluded from
21
     computation of time pursuant to § 3161(h)(7)(A), (B)(iv), and Local Code T4, and that the ends of
22
     justice served in granting the continuance outweigh the best interests of the public and the defendant in a
23
     speedy trial. Time is excluded from the date of this order through October 30, 2018.
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     Dated: October 9, 2018
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      STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE   2
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